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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS

 UNITED STATES OF AMERICA,

                          Plaintiff,
 v.                                                                Case No. 08-40008-02-JAR

 ROBERT ANDREW BLECHMAN,

                          Defendant.


                                                 ORDER

       After a two-week jury trial conducted in January 2009, defendant Robert Blechman and

his co-defendant Isaac Yass, were found guilty of mail fraud and conspiracy to commit mail

fraud. Defendant Blechman remained on bond pending his appeal of his conviction and the

Court’s sentence of 18 months’ imprisonment.1 On September 14, 2011, the Tenth Circuit Court

of Appeals issued its opinion in United States v. Blechman,2 affirming defendant’s conviction;

the mandate issued on November 14, 2011.3

       This matter is now before the Court on defendant Blechman’s Motion for an Order

Granting Self-Surrender and Other Relief (Doc. 242), wherein he requests the Court permit him

to self-surrender and to extend the deadline to do so until January 13, 2012. Defendant states

that he received an email from pretrial services on December 8, 2011, notifying him that his self-

surrender date has been set for December 14, 2011, and he has apparently been designated to



       1
        Doc. 195.
       2
        657 F.3d 1052 (10th Cir. 2011). Co-defendant Yass did not appeal his conviction or sentence.
       3
        Doc. 241.
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report to the federal facility in Lompoc, California.4 The government does not object to

defendant being permitted to self-surrender, but does object to an extension of the deadline to do

so.

        The Court agrees with the government. Although defendant protests that he has only

been given three business days to self-surrender, his reporting date of December 14, 2011, is

approximately 30 days from the mandate and 60 days from the Order affirming his conviction,

giving him ample notice and opportunity to get his personal affairs, including doctor’s

appointments, in order. Accordingly, the Court grants defendant’s request to self-surrender, but

denies his request for an extension until 2012.

        Defendant also requests the Court to make several recommendations to the Bureau of

Prisons (“BOP”), including allowing him to remain designated to Taft, California, as it is the

closest facility to his mother. At defendant’s request, however, the Court recommended at

sentencing that he be designated to Lompoc, California,5 and it is strictly the province of the

BOP to designate him to a facility it deems appropriate.6 Further, while not binding, the Court

recommends that defendant be permitted to be placed in a halfway house or on home detention

as soon as the BOP deems it appropriate, and that such designation be made in Las Vegas, where

his mother resides.7

        IT IS THEREFORE ORDERED BY THE COURT that defendant Robert Blechman’s


        4
          This appears to be a change from defendant’s original designation to Taft, California made by the Bureau
of Prisons before the appeal.
        5
         Doc. 200.
        6
         See 18 U.S.C. § 3621(b).
        7
         See id.

                                                         2
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Motion (Doc. 242) is GRANTED in part to permit him to self-surrender on December 14, 2011,

to the facility as directed and designated by the BOP; defendant’s request for an extension of

time to self-surrender is DENIED.

       IT IS SO ORDERED.

Dated: December 12, 2011
                                                      S/ Julie A. Robinson
                                                     JULIE A. ROBINSON
                                                     UNITED STATES DISTRICT JUDGE




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